Case 2:02-cr-20027-.]DB Document 143 Filed 09/01/05 Page 1 ciglEEDP?HeBPlEZ£ COURT

DATE:_Z.L/¢'_F__

TlME: _____/U_____-' /S’.M..___ ._

IN THE uNlTED STATES DlSTRICT COuRT 'N’T'ALS=--____..%
FOR THE WESTERN DlSTRlCT oF TENNESSEE

WESTERN D|V|S|ON

UNITED STATES OF AN|ERICA,

P|aintiff,
vS. CR. NO. 02-20027-Bre
FREDDIE PETERS,

Defendant.

ORDER
Upon the motion of the Unitec| States, and for good cause shoWn, the Court’S Order

Amending Juc|gment, entered August 22, 2005, is hereby rescinded.

s"°
SO ORDERED this 1 clay of , 2005 at |V|emphis, Tennessee.

 

J. D N|EL BREEN
Unit d States District Juc|ge

 

   
 

     

  

UNITED `SETAT DISTRIC COURT - WESTRNE D'S'TRCT 0 TNNESSEE

 

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Honorable J. Breen
US DISTRICT COURT

